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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §
HOU-TEX BUILDERS, LLC, et al., 1                           §             Case No. 18-34658
                                                           §             Chapter 11
                  DEBTORS.                                 §             Jointly Administered
                                                           §

                               AMENDMENT TO SCHEDULES A/B, D
                                   AND SUMMARY OF ASSETS

         Debtor HouTex Builders, LLC, amends its Schedule A/B, Part 1, in its entirety as follows:




1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).
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        Debtor HouTex Builders, LLC, amends its Schedule A/B, Part 9, in its entirety as follows:




        Debtor HouTex Builders, LLC, amends its Schedule D, Part 1, question 2.2 by amending the

address for Great Southwest Financial Group as follows:

        Great Southwest Financial Group
        2001 Kirby Drive, Suite1300
        Houston, TX 77019


        Debtor HouTex Builders, LLC, supplements its Summary of Assets and Liabilities, Part 1, in

its entirety as follows:
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       Debtors reserve their rights to further amend and supplement the Statements of Financial

Affairs, Schedules and Summary of Assets and Liabilities.

Dated: October 16, 2018                              By:     /s/Charles C. Foster
                                                            Charles C. Foster
